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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  STUART GREENBERG, on behalf of
  himself and all others similarly-
  situated,

               Plaintiffs,

  vs.                                             Case No: 8:14-cv-00795-VMC-TBM

  PIKE ELECTRIC CORPORATION; a
  Foreign Profit Corporation; PIKE
  ELECTRIC, LLC, a Foreign Limited
  Liability Company; PIKE
  ENTERPRISES, INC.; a Foreign
  Profit Corporation; a Foreign Profit
  Corporation; and UC SYNERGETIC,
  INC., a Foreign Profit Corporation,

               Defendants.
                                              /

                  NOTICE OF PENDENCY OF OTHER ACTIONS

        In accordance with Local Rule 1.04 (c), I certify that the instant action:
  _ X IS       related to pending or closed civil or criminal case(s) previously filed in
               this Court, or any other Federal or State Court, or administrative agency as
               indicated below:

               (Closed Case) Case No. 6:09-cv-01922, Alvira, Julio vs. Pike Electric,
               Inc.; Middle District of Florida (Orlando)

  _ IS NOT     related to any pending or closed civil or criminal case filed with this
               Court, or any other Federal or State court, or administrative agency.




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         Respectfully submitted this 7th day of April, 2014.

                                              /s/ Christina J. Thomas
                                              Christina J. Thomas, Esq.
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                                              Email: CThomas@forthepeople.com
                                              Counsel for Plaintiff


                             CERTIFICATE OF SERVICE


         I hereby certify that a true and correct copy of this Notice and all attachments
  were filed this 7th day of April, 2014, using the Court’s EM/ECF system. I also certify
  that a copies have been sent via U.S. Mail to the following: Pike Electric, LLC c/o
  Corporation Service Company, 1201 Hays Street, Tallahassee, Florida 32301; Pike
  Electric Corporation, c/o J. Erik Pike, 100 Pike way, Mounrt Airy, North Carolina 27030;
  Pike entrprises, Inc., c/o Kathy Webb, 100 Pike way, Mount Airy, North Carolina 27030;
  and UC Synergetic, Inc, c/o Pike Enterprises, Inc., attention: Kathy Webb, 100 Pike way,
  Mount Airy, North Carolina, 27030.
                                              /s/ Christina J. Thomas
                                              Christina J. Thomas, Esq.




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